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FOR SALE BY U.S. GEOLOGICAL SURVEY, DENVER, COLORADO OR WASHINGTON 25, D. C. arg i dae Bee ‘ EDITION OF 1949

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